
The Judges, Cabell, Brooke, Roane and Fleming concurred in opinion that, after issue joined, it was too late to take advantage of the non? residence of the defendant; Roane observing that he conceived the point settled in Bradley v. Welch, and the true construction of the act of assembly to be, that the *242writ is to be dismissed, upon condition that advantage be taken on the first calling of the cause.(1)
Judgment unanimously reversed, and cause remanded for farther proceedings upon the issue joined.

 Note. See 3 Tuck. Bl. Appendix, note D. p. 51. and 1 Wash. 153, 154.
N. B. No opinion was given upon the point, whether,the suit might hW been dismissed if the objection had been taken in time.

